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                        IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

ELMOSTAFA AIT SALAH,

       Plaintiff,
                                                       CASE NO.:
v.

NATIONAL RAILROAD PASSENGER
CORPORATION d/b/a AMTRAK,                              JUNE 1, 2022

       Defendant.


                                    NOTICE OF REMOVAL

       Defendant, NATIONAL RAILROAD PASSENGER CORPORATION d/b/a AMTRAK

(“Defendant”), by and through the undersigned counsel and pursuant to 28 U.S.C. §§ 1349,

1441(a), and 1446, hereby removes this action from the Superior Court of the State of Connecticut,

where the action is now pending, to the United States District Court for Connecticut, on the basis

of original jurisdiction. The removal of this action is based upon the following:

                                   PROCEDURAL HISTORY

       1.       On May 25, 2022, Plaintiff Elmostafa Ait Salah filed the instant action against

National Railroad Passenger Corporation d/b/a Amtrak in the Superior Court of the State of

Connecticut, styled Elmostafa Ait Salah v. National Railroad Passenger Corporation d/b/a

Amtrak, Case No. MMX-CV22-6034348-S.

       2.       Plaintiff’s Complaint alleges unlawful discrimination on the basis of race, national

origin and religion, and retaliation, all in violation of Connecticut law.

       3.       Defendant was served with the Summons and Complaint on May 13, 2022.
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                                  GROUNDS FOR REMOVAL

       4.       Defendant is removing this matter based upon original jurisdiction pursuant to 28

U.S.C. §§ 1331 and 1349, as Amtrak is a federally-chartered stock corporation, and the United

States owns more than one-half of Amtrak’s capital stock. See 49 U.S.C. §§ 24301, et seq.;

Eichelberg v. National R.R. Passenger Corp., 57 F.3d 1179, 1183 n.3 (2d Cir. 1995) (Amtrak

removed this action from state court on the ground that federal jurisdiction existed because Amtrak

was created by an Act of Congress and the United States owns more than one-half of its capital

stock); Hollus v. Amtrak Ne. Corridor, 937 F. Supp. 1110, 1113-14 (D.N.J. 1996), aff’d, 118 F.3d

1575 (3d Cir. 1997) (“Because a majority of the capital stock of Amtrak is owned by the United

States, the federal courts have subject matter jurisdiction over any action involving Amtrak.”). See

also Vasquez v. N. Cnty. Transit Dist., 292 F.3d 1049, 1060 (9th Cir. 2002) (concluding district

court “had original jurisdiction over the subject matter of the litigation because the action involves

Amtrak and the United States owns a majority of the capital stock of Amtrak”); Aliotta v. Nat’l

R.R. Passenger Corp., 315 F.3d 756, 758 n.1 (7th Cir. 2003) (“federal courts have jurisdiction over

all cases involving Amtrak, regardless of the cause of action”); Nat’l R.R Passenger Corp. v.

Rountree Transport & Rigging, Inc., 286 F.3d 1233, 1259 n.25 (11th Cir. 2002) (stating, “[i]t is

true that, because Amtrak is a federally chartered corporation that meets the requirements of 28

U.S.C. § 1349, federal question jurisdiction is proper”).

       5.       The removal of this civil action is therefore proper under 28 U.S.C. § 1441(a)

because this is a civil action inappropriately brought in state court but over which the district courts

of the United States have original jurisdiction.




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       6.       This Notice of Removal is filed within thirty (30) days after Defendant’s receipt of

the Summons and Complaint. Therefore, Defendant’s Notice of Removal is timely in accordance

with 28 U.S.C. §1446(b).

       7.       Plaintiff filed the action in the Superior Court of the State of Connecticut, and the

alleged conduct occurred in Connecticut. See Ex. A, Compl. ¶¶ 9, 15. As such, venue properly lies

in the United States District Court for the District of Connecticut. 28 U.S.C. §§ 86, 1391(b), and

1441(a).

       8.       A true and correct copy of all process, pleadings, orders and other papers or exhibits

of every kind currently on file in the State Court Action are attached hereto as Composite Exhibit

“A,” as required by 28 U.S.C. § 1446(a).

       9.       Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly file a copy of this Notice

of Removal in the Superior Court of the State of Connecticut, Judicial District of Middletown, and

simultaneously provide written notice of the filing of this Notice of Removal to Plaintiff (Exhibit

“B”) as reflected by the Certificate of Service.

       10.      By filing this Notice of Removal, Defendant does not waive any defenses available

to it at law, in equity or otherwise, or concede that the plaintiff has pled claims upon which relief

may be granted.

       WHEREFORE, Defendant hereby removes this action from the Superior Court of the

State of Connecticut, to the United States District Court for the District of Connecticut.




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Dated: June 1, 2022                   Respectfully submitted,



                                      /s/ Maura A. Mastrony
                                      Jason R. Stanevich (ct28125)
                                      Maura A. Mastrony (ct27787)
                                      Lindsay M. Rinehart (ct30921)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2022, a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the court’s electronic filing system. Parties may access this

filing through the Court’s electronic filing system.



                                                       /s/ Maura A. Mastrony
                                                       Maura A. Mastrony




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               Exhibit A
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               Exhibit B
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                               SUPERIOR COURT
               JUDICIAL DISTRICT OF MIDDLESEX AT MIDDLETOWN
                            STATE OF CONNECTICUT


ELMOSTAFA AIT SALAH,

       Plaintiff,
                                                       CASE NO: MMX-CV22-6034348-S
v.

NATIONAL RAILROAD PASSENGER                            JUNE 1, 2022
CORPORATION d/b/a AMTRAK,

       Defendant.


                      DEFENDANT’S NOTICE OF FILING REMOVAL

       Defendant, National Railroad Passenger Corporation d/b/a Amtrak (“Defendant” or

“Amtrak”), by and through undersigned counsel, hereby files this Notice of Filing Removal and

states as follows:

       1.      On May 2, 2022, Plaintiff Elmostafa Ait Salah filed the instant action against

Defendant alleging unlawful discrimination on the basis of race, national origin and religion, and

retaliation, all in violation of Connecticut law.

       2.      On May 26, 2022, 2022, Defendant filed a Notice of Removal in the United States

District Court for the District of Connecticut on the basis of original jurisdiction pursuant to 28

U.S.C. §§ 1349 and 1441(a). A copy of Defendant’s Notice of Removal filed in Federal Court is

attached as Exhibit 1.

       3.      The filing of said Notice of Removal with the United States District Court and

this Notice of Filing Notice of Removal, together effect the removal of this action. This Notice

to the Superior Court was filed and served pursuant to 28 U.S.C. § 1446(d).
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Dated: June 1, 2022                       Respectfully submitted,



                                          /s/ Maura A. Mastrony
                                          Maura Mastrony, Bar No. 428191
                                          Lindsay Rinehart, Bar No. 438219

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                                          Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2022, a copy of the foregoing was sent via e-mail to all

counsel and pro se parties of record as follows:

       Matthew Paradisi
       Cicchiello & Cicchiello, LLP
       364 Franklin Avenue
       Hartford, CT 06114



                                                       /s/ Maura A. Mastrony
                                                       Maura A. Mastrony




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